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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


DAVID ROMANKOW and JACLYN
ROMANKOW on behalf of themselves and all
others similarly situated,
               Plaintiffs,                 Case No. 1:20-cv-04616-GBD

               v.

NEW YORK UNIVERSITY,

                    Defendant.



       DEFENDANT NEW YORK UNIVERSITY’S MEMORANDUM OF LAW
                IN SUPPORT OF ITS MOTION TO DISMISS
             THE PLAINTIFFS’ FIRST AMENDED COMPLAINT




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                               PRELIMINARY STATEMENT

       The novel coronavirus disease 2019 (“Covid-19”) unleashed unprecedented and

unanticipated threats to global public health and safety. Public health officials, New York State,

and the U.S. and U.K. governments issued directives designed to protect the public – including the

students, faculty, and staff at defendant New York University (“NYU”) – from Covid-19’s

growing danger. These directives and the threats attendant to large groups congregating on a

college campus forced NYU to make the difficult but well-considered decision to transition to

remote teaching for the remainder of the Spring 2020 semester. Notwithstanding the significant

logistical effort and expense involved, NYU remained committed to delivering world-class

education by implementing creative ways to conduct nearly all classes by remote instruction.

       NYU followed through on its commitment. Professors continued to teach; students

continued to learn. See, e.g., Decl. of Keara M. Gordon, dated Nov. 5, 2020, Ex. 1. Professors

adapted; NYU held remote classes across its schools and colleges, centers and institutes, programs,

and areas of study. Exs. 2–5. Every day, faculty worked to deliver NYU’s intellectually

stimulating educational content in new ways, and students benefitted. See Ex. 1. At the end of the

semester, thousands of NYU students received educational credits and earned degrees. See Ex. 6.

       Nevertheless, and despite the fact that Covid-19, not NYU, required the transition to remote

learning, plaintiffs Jaclyn Romankow, a visiting student enrolled for one semester in NYU’s

London study abroad program, and her father David Romankow (the “plaintiffs”) brought a

putative class action against NYU that: asks this Court effectively to second guess NYU’s

judgment in transitioning to remote learning and to bring home students in NYU’s London study

abroad program; argues that, in their opinion, the remote learning environment to which faculty

were forced to transition, and the manner in which each of Ms. Romankow’s professors then

delivered that instruction, was ineffective (apparently in total); and demands the return of


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Ms. Romankow’s tuition and fees.1

        In response to the plaintiffs’ first complaint, NYU moved to dismiss. In its motion, NYU

demonstrated that each of their claims failed for numerous reasons. Their Amended Complaint

(“AC”) fails to remedy any of those deficiencies.

        The plaintiffs assert three claims: (1) breach of contract; (2) unjust enrichment; and

(3) conversion. All fail:

       At their core, each of the plaintiffs’ claims impermissibly asks this Court to second guess
        NYU’s educational decisions including the manner and effectiveness of the provision of
        educational services, which longstanding New York precedent precludes; indeed, what the
        plaintiffs seek would require the Court to review and assess Ms. Romankow’s (and
        potentially the entire putative classes’) course materials, syllabi, assignments, the method
        of teaching provided both before and after the transition to remote learning, any subsequent
        lessening of effectiveness (however measured), the student’s input and work product, the
        student’s subjective learning preferences, and a plethora of other factors, and then ascribe
        some monetary value to any supposed deviation from the prior or promised standard
        (whatever that may be) (see Section II);

       Mr. Romankow, as the parent of an adult student, does not have Article III standing to
        assert claims against NYU (see Section III.A);

       The plaintiffs lack Article III standing to assert these claims on behalf of absent class
        members who attended colleges, schools, or programs within NYU that Ms. Romankow
        did not attend. Each school, college, and program is different – the experience will differ
        for example, between students at NYU’s New York campus versus study abroad programs,
        graduate students versus undergraduates, law students versus medical students, versus
        engineering students, versus MBAs, versus actors, versus dancers, versus education
        majors, versus biology majors (see Section III.B);

       The plaintiffs lack Article III standing to seek injunctive relief, as they do not allege that
        Ms. Romankow will be taking NYU classes in the future (see Section III.C);

       The AC must be dismissed because the Study Abroad Travel Release Ms. Romankow
        agreed to upon her enrollment bars the plaintiffs’ claims (see Section IV);

       The breach of contract claim must be dismissed because (1) descriptions of the London
        program courses or curriculum in admissions materials or otherwise do not create an
        enforceable contract, especially in light of the express disclaimers in NYU bulletins and

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      There are three other actions against NYU: Rynasko v. New York Univ., No. 1:20-cv-3250-
GBD (S.D.N.Y.); Zagoria v. New York Univ., No. 1:20-cv-3610-GBD (S.D.N.Y.); Morales v. New
York Univ., No. 1:20-cv-4418-GBD (S.D.N.Y.).


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        other materials; (2) Covid-19 rendered performance impossible; (3) NYU did not act in
        bad faith; and (4) the plaintiffs failed adequately to allege damages (see Section V);

       The unjust enrichment claim must be dismissed because: (1) it is duplicative of the other
        causes of action; and (2) the plaintiffs have not pled that NYU was unjustly enriched (see
        Section VI); and

       The conversion claim must be dismissed because: (1) it is duplicative of the breach of
        contract claim; (2) the right to in-person classes is intangible property not subject to a
        conversion claim; and (3) the plaintiffs did not have an ownership interest in, and NYU did
        not exercise unauthorized dominion over, in-person instruction (see Section VII).

        Respectfully, the Court should dismiss the AC with prejudice and without leave to amend.

                                   STATEMENT OF FACTS

        A.     NYU’s Various Schools, Colleges, and Programs Have Varying Approaches
               to Admissions, Tuition, and Fees.

        NYU is an educational institution that, during the 2019-2020 school year alone, delivered

higher education to over 50,000 enrolled undergraduate and graduate students. See AC ¶ 2.

NYU’s academic offerings include certificate programs, accelerated programs, study abroad,

exchange programs, part-time studies, full-time studies, and associate, bachelor’s, post-bachelor’s,

master’s, post-master’s, and doctoral programs.       See, e.g., Exs. 2–5.2    These wide-ranging

academic offerings are delivered through NYU’s 18 different schools and colleges, 147 centers

and institutes, 400 programs, and over 230 areas of study. Id. Many of NYU’s different schools


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        NYU accepts the plaintiffs’ allegations as true except to the extent that they are
contradicted by documentary evidence. NYU reserves the right to dispute their accuracy if the
case proceeds (which it should not). But the Court is not required to accept as true allegations that
are contradicted by documents. When a “complaint relies on the terms of [an] agreement,” the
Court “may look to the agreement itself.” Broder v. Cablevision Sys. Corp., 418 F.3d 187, 196
(2d Cir. 2005). The Court may consider government documents, publicly available documents,
and published websites. See, e.g., Freedberg v. J.P. Morgan Chase & Co., 2016 WL 7495181,
at *1 n. 1 (S.D.N.Y. Dec. 22, 2016) (admissions in pleadings); Wells Fargo Bank, N.A. v. Wrights
Mill Holdings, LLC, 127 F. Supp. 3d 156, 166–67 (S.D.N.Y. 2015) (“official government websites
[and] governmental records”); Belfon v. Credit Check Total Consumerinfo.com, Inc., 2018 WL
4778906, at *3 (E.D.N.Y. Oct. 1, 2018) (“documents on published websites”). The Court can
consider materials beyond the pleadings to resolve a factual challenge to the Court’s jurisdiction.
See, e.g., Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000).


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and colleges have their own admissions process (see, e.g., Exs. 7–11) and use different admissions-

related materials for prospective students, on different websites, which highlight the distinct

aspects unique to them, and which have changed over time (see, e.g., Exs. 12–14).

       NYU assesses each student’s tuition and fees based on the student’s circumstances,

including the school within NYU, the program within that school, and the particular courses taken.

See AC ¶ 44 (“Fees paid … vary based on program of study”). NYU specifically informs all

students that they “are assessed tuition and fees based on the factors below: School or College

within [NYU] ... Program ... [and] Credit Hours Enrolled,” not by any other factors (such as mode

or location of instruction or course content). Ex. 15. NYU further reserves all rights to change its

tuition and fees through disclaimers on its webpage and in course bulletins. For example, it warns,

“Disclaimer: The Board of Trustees of New York University reserves the right to alter the schedule

of fees without notice” (Ex. 15) (emphasis in original), “tuition, fees ... are subject to change

without notice at any time at the sole discretion of the administration” (Ex. 16) (emphasis added),

and “[c]lass schedule and room locations [are] subject to change” and “[c]lass meeting times may

vary.” Ex. 17.

       B.        The Covid-19 Pandemic Forces NYU’s Transition to Remote Learning.

       On March 7, 2020, Governor Andrew Cuomo declared a State of Emergency across New

York due to a rapid increase in confirmed cases of Covid-19. Ex. 18. On March 11, 2020,

President Donald Trump announced a suspension of travel from Europe to the U.S. that on March

14, 2020, he expanded to include the U.K. See Exs. 19, 20. According to the AC, Ms. Romankow

was instructed to leave London, which she did on March 16, 2020. AC ¶ 16. That same day,

Governor Cuomo issued an expanded Executive Order; he closed all schools, prohibited all large

gatherings, and shuttered bars and restaurants. Exs. 21, 22. Consistent with the government orders

and to protect the health and safety of its community, NYU announced the difficult, but essential,


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decision to move to remote learning for the rest of the semester, following its previous

announcements of a temporary transition. Exs. 23–25. On March 18, 2020, the U.K. government

issued an order closing schools indefinitely. Ex. 26. On March 20, 2020, Governor Cuomo

announced an Executive Order, which “ban[ned] all non-essential gatherings of individuals of any

size for any reason.” Ex. 27. On March 23, 2020, the U.K. prohibited non-essential gatherings of

more than two people and closed all but essential business. Exs. 28, 29.

       C.      NYU Provides Certain Refunds to Students.

       After transitioning to remote learning and closing most of its residence halls, NYU

refunded housing and meal costs pro rata. Ex. 24. NYU also refunded certain activity fees,

following evaluation of “dozens of individual school- and course-based fees for the purpose of

determining potential refunds.” Ex. 30; see Ex. 31. NYU continued to provide numerous services,

such as career services, student health services, academic support, advising, and information

technology support; it did not refund fees for services that it continued to supply. Ex 32.

       Consistent with its policy that students who remain enrolled in at least one course are not

eligible for a refund after February 10, 2020 and students who withdraw from all classes are not

eligible for a refund after February 24, 2020 (see Exs. 33–35), and because students continued to

receive instruction remotely, earn credits and graduate, NYU has not refunded tuition. See Ex. 32.

       D.      The Plaintiffs

       Ms. Romankow was a visiting student who enrolled at NYU’s Tisch School of the Arts

(“Tisch”) London program for one semester. Ex. 36; AC ¶ 13. Before Ms. Romankow enrolled

in the program (see Ex. 36), Tisch released its “University Bulletin,” which included a disclaimer

that “[p]ayment of tuition or attendance at any classes ... constitute[d] [the] student’s acceptance

of the administration’s rights” as follows:

       The policies, requirements, course offerings, schedules, activities, tuition, fees, and


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       calendar of the school and its departments and programs ... are subject to change
       without notice at any time at the sole discretion of the administration. Such changes
       may be of any nature, including, but not limited to, the elimination of the school,
       programs, classes, or activities; the relocation of or modification of the content of
       any of the foregoing; and the cancellation of scheduled classes or other academic
       activities.

Ex. 16 (emphasis added). NYU’s course registration system further provided, at the time of

registration for classes, that its “[c]lass schedule and room locations [are] subject to change” and

“[c]lass meeting times may vary.” Ex. 17.

       When she enrolled in the NYU London program, Ms. Romankow signed a release, the

Study Away Travel Release (the “Release”). Ex. 37. At that time, NYU’s online portal required

Ms. Romankow to acknowledge her agreement to the Release, which she did. See Ex. 38. Under

the terms of the Release, Ms. Romankow waived her and her father’s right to all claims against

NYU relating to her participation in the study abroad program. See Ex. 37.

       Nevertheless, the plaintiffs demand a refund of tuition and fees they purportedly paid for

Ms. Romankow’s enrollment in the study abroad program. See AC ¶ 63. Ms. Romankow and her

father claim that Mr. Romankow “was responsible for and paid the tuition bill on behalf of his

daughter” (see AC ¶ 13); however, when Ms. Romankow authorized her father’s access to NYU’s

online portal to submit tuition payments on her behalf, she explicitly acknowledged that she was

“still responsible for ensuring that all my accounts are paid on time and in full.” See Ex. 39.

       In the AC, the plaintiffs admit that “the reasons for” NYU’s transition to remote learning

“are justified,” but allege that they believe remote instruction was “subpar” to in-person instruction

“in practically every aspect,” “not the same,” “limited,” “void of … interaction,” and not

“comprehensive” (see AC ¶¶ 2, 7, 8, 58, 80), which they claim entitles them to a refund of tuition

and fees. AC ¶ 63. But the plaintiffs admit that NYU has already “refunded a … portion of

mandatory fees” and that NYU has already “adjusted student accounts with prorated credits for



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room and board.” AC ¶¶ 86, 90.

        While the plaintiffs claim that NYU breached an alleged contract with them, they do not

articulate or attach the purported “contract,” instead referencing generally “NYU’s Course

Catalog” and unidentified and unspecified “brochures, advertisements, and other promotional

materials.” AC ¶¶ 88–89. The plaintiffs state that they “viewed the Course Catalog to make

specific course selections prior to registering and paying for selected courses,” but they fail to

explain what, exactly, that catalog allegedly said. AC ¶ 89. The plaintiffs also reference undated

pages on the NYU website promoting benefits of being in New York City even though Ms.

Romankow never intended to study at NYU in New York, but solely in London. AC ¶¶ 29, 30,

33–36. They also reference statements regarding the NYU London program, including “theatre

visits,” “trips to galleries and places of architectural interest,” as well as “football matches,

musicals, comedy nights, and exhibitions” and Royal Academy of Dramatic Art (“RADA”)

facilities, Shakespeare plays, and combat training, which Covid-19 prevented. AC ¶¶ 76–80.

        The plaintiffs seek to represent a putative class of anyone – apparently students, parents,

grandparents, employers, and possibly others – who paid NYU any “tuition, fees, and/or room and

board for in-person instruction and use of campus facilities, but were denied use of and/or access

to in-person instruction and/or campus facilities” in the Spring 2020 semester. AC ¶ 94. The

plaintiffs also seek to represent two subclasses of all Tisch students or all study abroad students.

Id.; Ex. 40.




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                                            ARGUMENT

I.      Standard of Review

        In deciding Rule 12(b)(6) motions to dismiss, courts apply a “plausibility standard,” which

is guided by “[t]wo working principles.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). First,

although the Court must accept all of a complaint’s well-pled allegations as true, this “tenet” is

“inapplicable to legal conclusions”; thus, “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. Second, only complaints that state

a “plausible claim for relief” may survive a motion to dismiss. Id. at 679.

        “A case is properly dismissed for lack of subject-matter jurisdiction … when the district

court lacks the statutory or constitutional power to adjudicate it.” Makarova, 201 F.3d at 113; see

also Morrison v. Nat’l Austl. Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (same). Courts lack

subject matter jurisdiction when the plaintiff does not have Article III standing. Schachter v. U.S.

Life Ins. Co. in City of New York, 77 F. App’x 41, 42 (2d Cir. 2003). In a factual standing

challenge, as NYU makes here, “no presumptive truthfulness attaches to the complaint’s

jurisdictional allegations; rather, the burden is on the plaintiff to satisfy the Court, as fact-finder,

of the jurisdictional facts.” Tasini v. New York Times Co., Inc., 184 F. Supp. 2d 350, 353 (S.D.N.Y.

2002) (citation and internal quotation marks omitted) (collecting cases); see also United States ex

rel. Hanks v. United States, 961 F.3d 131, 136-137 (2d Cir. 2020) (a factual challenge “imposed

on [plaintiff] the burden to show [jurisdiction] by a preponderance of the evidence”).

II.     The Court Should Not Intervene in Educational Decisions.

        As a threshold matter, the plaintiffs’ claims should be dismissed because they are premised

on allegations that improperly ask the Court to evaluate whether NYU made the right decision to

transition to remote learning, and then, once made, to examine whether individual faculty members

failed to provide an effective education in particular courses during remote instruction. “[C]ourts


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retain a ‘restricted role’ in dealing with and reviewing controversies involving colleges and

universities.” Radin v. Albert Einstein Coll. of Med. of Yeshiva Univ., 2005 WL 1214281, at *10-

11 (S.D.N.Y. May 20, 2005) (student failed to state a breach of contract claim) (quoting Maas v.

Cornell Univ., 94 N.Y.2d 87, 92 (1999) (affirming dismissal of breach of contract claim;

administrators are “better suited” to make decisions)). “It is the longstanding policy of the New

York courts that ‘the administrative decisions of educational institutions involve the exercise of

highly specialized professional judgment and these institutions are … better suited to make

relatively final decisions concerning wholly internal matters.’” Leslie v. New York Univ., 2020

WL 5819730, at *4 (Sup. Ct. N.Y. Cty. Sept. 29, 2020) (quoting Maas, 94 N.Y.2d at 92).

       It is well-settled that New York does not recognize claims that require the Court to second-

guess the decisions of educators or are akin to claims “that the school breached its agreement by

failing to provide an effective education,” such as where a court would have to “evaluate the course

of instruction” or “review the soundness of the method of teaching ... ” Andre v. Pace Univ., 655

N.Y.S.2d 777, 779 (2d Dep’t 1996) (citation and internal quotation marks omitted) (reversing trial

court judgment for student). “Such inquiry would constitute a clear ‘judicial displacement of

complex educational determinations’ that is best left to the educational community.” Id. (quoting

Paladino v. Adelphi Univ., 454 N.Y.S.2d 868 (2d Dep’t 1982)); see also, e.g., Barsoumian v.

Williams, 29 F. Supp. 3d 303, 322 (W.D.N.Y. 2014) (dismissing breach of contract claim alleging

that school “failed to provide [plaintiff] ‘with an education environment conducive to learning’”);

see also Soueidan v. St. Louis Univ., 926 F.3d 1029, 1034 (8th Cir. 2019) (citation and internal

quotation marks omitted) (“A claim that educational services provided were inadequate,

substandard, or ineffective constitutes a claim of educational malpractice.”).

       Indeed, “[n]ot every dispute between a student and a university is amenable to a breach of




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contract claim … Where the essence of the complaint is that the school … fail[ed] to provide an

effective education, the complaint must be dismissed as an impermissible attempt to avoid the rule

that there is no claim in New York for ‘educational malpractice.’” Gally v. Columbia Univ., 22 F.

Supp. 2d 199, 206–07 (S.D.N.Y. 1998) (dismissing breach of contract claim). “[E]ven while

applying contract principles, the courts have been careful to disallow claims that would involve

the judiciary in reviewing the day-to-day judgments of educators.” Id. at 209.

        This longstanding line of authority is directly applicable here. In Paynter v. New York

University, for example, the plaintiff sued for a tuition refund after NYU suspended classes on

May 7, 1970 as a result of anti-war demonstrations. 319 N.Y.S.2d 893, 893 (1st Dep’t 1971). The

First Department reversed the trial court’s decision that a refund was warranted and held that the

trial court “erred in substituting its judgment for that of the University administrators and in

concluding that the University was unjustified in suspending classes for the time remaining in the

school year prior to the examination period.” Id. at 894 (emphasis added). In so doing, the Court

recognized the general principle that “[p]rivate colleges and universities are governed on the

principle of self-regulation … and they have inherent authority to maintain order on their

campuses.” Id. The Court expressly observed that, “while in a strict sense, a student contracts …

for a number of courses to be given during the academic year, the services rendered by the

university cannot be measured by the time spent in a classroom.” Id.

        The same result follows here. The plaintiffs challenge NYU’s decision to move all courses

to remote instruction and allege that, in their opinion, the resulting education that each faculty

member provided in each class was not as effective as it otherwise would have been. See AC ¶ 8.

Specifically, the plaintiffs:

       Assert that the remote classes offered were “subpar,” “not the same,” “limited,” “void of
        … interaction,” and not “comprehensive” (see id. ¶¶ 2, 7, 8, 80);



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          cite to a number of statistics purportedly establishing the difference in the effectiveness of
           online education and in-person education (see id. ¶¶ 66–71); and

          repeatedly quote various individuals’ hearsay statements opining that they perceived a
           purported lesser quality and effectiveness of online education, such as that it was of “poor”
           quality. See, e.g., id. ¶¶ 60, 68.

           As a result, to adjudicate this dispute, the Court would need to examine and evaluate the

actual quality of the education provided, which would require the Court to review and assess Ms.

Romankow’s (and potentially every NYU student’s) course materials, syllabi, objectives,

assignments, the method of teaching provided both before and after the transition to remote

learning, its effectiveness (however measured), the student’s input and work product, and a

plethora of other factors, and then ascribe some monetary value to any supposed deviation from

the prior or purportedly promised standard. Such an analysis would be further complicated by the

fact that this calculus may be different depending upon whether the course at issue is statistics

versus Shakespeare, versus law, versus biology, versus finance, versus education, versus

engineering, and versus chemistry. And, the Court would need to factor in the subjective desires

and preferences of students, which are not uniform and many of whom learn differently. Well-

established precedent mandates that the Court should not wade into such day-to-day judgments of

educators. Accordingly, the AC must be dismissed.

III.       The Plaintiffs Do Not Have Article III Standing to Assert Certain Claims.

           A.     Mr. Romankow Lacks Standing as a Parent.

           Mr. Romankow’s claims must be dismissed because, as a parent of an adult student, he

lacks standing. “[T]he ‘payment of tuition does not create a contractual relationship between

parents and a college’ when the parents’ child is over the age of majority.” Doe v. Univ. of the

South, 687 F. Supp. 2d 744, 761 (E.D. Tenn. 2009) (citation omitted). Thus, courts hold that

parents lack standing to assert claims against a university based on the payment of tuition when



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the student is over the age of eighteen. See, e.g., Morgan v. City of New York, 166 F. Supp. 2d

817, 819–20 (S.D.N.Y. 2001) (parent lacked standing to bring claims under Title IX, § 1983 and

N.Y. Educ. Law § 313 on behalf of daughter); Doe, 687 F. Supp. 2d at 761-64; Brinkman v. Miami

Univ., 2007 WL 2410390, at *10 (Ohio Ct. App. Aug. 27, 2007); Suffolk Cty. v. Long Island

Lighting Co., 728 F.2d 52, 63 (2d Cir. 1984) (affirming dismissal; “[A]bsent a contractual

relationship there can be no contractual remedy.”).3

        In Doe, for example, the parents of a college student sought to assert claims against the

student’s school for, among other things, breach of express and implied contract and unjust

enrichment. 687 F. Supp. 2d at 749. The Court found that for the parents “to establish standing

to sue the University … they must first be able to prove the existence of a contract or for the Court

to find that the parties must have entered into an agreement which is sufficiently definite and

certain so that the terms are either determined or may be implied.” Id. at 761. The Court rejected

the parents’ contention that “the payment of tuition created a contractual or quasi-contractual

relationship with the University.” Id. “When a child reaches the age of majority, such standing

simply transfers from the parent to the child.” Id. (citation and internal quotation marks omitted).

        Similarly, in Brinkman, a father argued that he had “standing to challenge [a] university’s

domestic-partner benefits program” because he paid tuition for his adult children. 2007 WL

2410390, at *10. The Court disagreed: “[W]e find no authority to support the proposition that [the

parent’s] payment of tuition … gives him standing in this case … ” Id. The Court found instead

that “[the parent] is not obligated by law to pay … In fact, the tuition bill is not even Brinkman’s.

The bill is the financial responsibility of his adult children ... ” Id.



3
       Even if Mr. Romankow had a contract with NYU (which he does not), he is merely a
promisee, and his daughter is the third-party beneficiary who can bring the action. Police Benev.
Ass’n of New York State Police, Inc. v. New York, 358 N.Y.S.2d 280, 284 (1974).


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       Here, similarly, Mr. Romankow’s payment of his daughter’s tuition does not confer

standing. Id. Ms. Romankow’s NYU account was in her name. See, e.g., Ex. 41. When she

authorized her father’s access to NYU’s online portal to submit tuition payments on her behalf,

she explicitly acknowledged that she was “still responsible for ensuring that all my accounts are

paid on time and in full.” Ex. 39; see Ex. 40. Any tuition contract – express or implied – is

between NYU and the student. Mr. Romankow’s claims should be dismissed with prejudice.

       B.      The Plaintiffs Lack Standing to Assert Claims Relating to Colleges, Schools,
               and Programs in Which Ms. Romankow Was Not Enrolled.

       The plaintiffs do not have standing to assert claims related to the schools, colleges, and

programs Ms. Romankow did not attend. A named plaintiff lacks standing to assert claims on

behalf of putative class members where those claims would not raise “a set of concerns nearly

identical” to hers. DiMuro v. Clinique Labs., LLC, 572 F. App’x 27, 29 (2d Cir. 2014) (quotation

omitted) (dismissing claims; “each of the seven different products have different ingredients, and

[defendant] made different advertising claims for each” thus “[e]ntirely unique evidence” would

be required to assess claims regarding each product); see Ret. Bd. of the Policemen’s Annuity &

Benefit Fund of the City of Chicago v. Bank of N.Y. Mellon, 775 F.3d 154, 162 (2d Cir. 2014);

Patterson v. Morgan Stanley, 2019 WL 4934834, at *4-7 (S.D.N.Y. Oct. 7, 2019) (no standing).

       In Retirement Board, for example, the Second Circuit held that a plaintiff lacked standing

where its claims “turn[ed] on very different proof” for different loans being held by different trusts.

775 F.3d at 162 (quotation omitted). “[W]hether [the defendant] breached its obligations …

require[d] examining its conduct with respect to each trust” because there is “no way in which

answering these questions for the trusts in which Plaintiffs invested [would] answer the same

questions for the numerous trusts in which they did not invest.” Id.

       So too here. The plaintiffs purport to represent a class that consists not only of students



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and a myriad of associated third-party payors in a particular school or program, but everyone who

paid NYU tuition, whether as an undergraduate, graduate, or doctorate candidate, in any discipline.

The admissions-related materials describing these varied programs, the course offerings, and

course catalogs were different across NYU’s various colleges, schools, and programs, and have

changed over time. See Exs. 7–14. And, the manner and method of the delivery of classes within

each – much less across all – varied, as did the student’s subjective views of each course.

       The plaintiffs base their contract claim on the representations that they allege NYU made

to Ms. Romankow. Obviously, she was not exposed to representations made regarding different

disciplines, programs, or course offerings, particularly since Ms. Romankow was a visiting student

who enrolled for one semester to attend the NYU London study abroad program, and any alleged

contract did not encompass statements regarding other programs or NYU’s New York campus.

And, NYU provided different refunds for school or course-based fees or equipment. See Exs. 25,

30, 31. Thus, “whether [NYU] breached its obligations … requires examining its conduct with

respect to” the different admissions materials for each school, college, and program, and therefore,

the plaintiffs lack standing to assert claims on those students’ behalf. Ret. Bd., 775 F.3d at 162.

       C.      The Plaintiffs Lack Standing to Seek Prospective Injunctive Relief.

       The “‘irreducible constitutional minimum’ of standing” requires a plaintiff to plead a

“‘concrete and particularized injury.’” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547-1548 (2016)

(citation omitted). A plaintiff “lack[s] standing to pursue injunctive relief [if he or she is] unable

to establish a ‘real or immediate threat’ of injury.” Nicosia v. Amazon.com, Inc., 834 F.3d 220,

239 (2d Cir. 2016) (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 111–12 (1983)). “[P]ast

injuries … do not confer standing … unless the plaintiff … is likely to be harmed again … in a

similar way.” Id. “The prospective-orientation of the analysis is critical: to maintain an action for

injunctive relief, a plaintiff ‘ … must show a likelihood that [s]he … will be injured in the future.’”


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Berni v. Barilla S.p.A., 964 F.3d 141, 147 (2d Cir. 2020) (quoting Deshawn E. by Charlotte E. v.

Safir, 156 F.3d 340, 344 (2d Cir. 1998)). Here, the plaintiffs’ purported injuries result from the

now-concluded Spring 2020 semester, which Ms. Romankow completed as a visiting student. See

Ex. 36. She cannot possibly suffer harms relating to future semesters at NYU. The claim for

injunctive relief must be dismissed.

IV.       The Study Away Travel Release Bars the Plaintiffs’ Claims.

          The Release to which Ms. Romankow agreed electronically when she enrolled in the NYU

London program bars her (and her father’s) claims as a matter of law. By agreeing to the terms of

the Study Away Travel Release, Ms. Romankow agreed, among other things, that:

         “I understand that the University is not insuring or guaranteeing in any manner, my safety
          from personal injury or other loss or damage that may occur as a result of the Program;”

         “The University is not responsible for my losses, illnesses, injuries or disabilities or for the
          conditions I experience during the Program, including those that occur during University
          sponsored or supervised activities;” and

         “Knowing the risks and dangers associated with the program and in consideration for being
          permitted to participate in the Program, I also agree, to the maximum extent permitted by
          law … not to raise any claim or institute any legal action or proceeding against the
          University that I have ever had, now have, or may have in the future or which my heirs,
          executors, administrators, or assigns may have, or claim to have, for any cause of action
          that may result from or arise out of my participation in the Program or any travel related to
          the Program[.]” See Exs. 37 (emphasis added), 38.

          By agreeing to these terms,4 Ms. Romankow waived her and her father’s right to bring suit

against NYU for any alleged losses from her participation in the study abroad program, including

the purported losses claimed in the AC.

          Ms. Romankow is bound by the Release. “The Second Circuit routinely enforces clickwrap

agreements as valid and binding contracts, ‘for the principal reason that the user has affirmatively



4
      The fact that Ms. Romankow signed the Release further evidences that any contract was
between Ms. Romankow and NYU, not between Mr. Romankow and NYU.


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assented to the terms of agreement by clicking ‘I agree.’” Valelly v. Merrill Lynch, Pierce, Fenner

& Smith Inc., 2020 WL 2907676, at *3 (S.D.N.Y. June 3, 2020) (agreement enforceable) (quoting

Meyer v. Uber Techs., Inc., 868 F.3d 66, 75 (2d Cir. 2017)). “It is appropriate to grant a motion to

dismiss on the basis of a binding release agreement where … the terms of the agreement are clear

and unambiguous.” 2 Broadway LLC v. Credit Suisse First Boston Mortg. Capital LLC, 2001 WL

410074, at *6-7 (S.D.N.Y. April 23, 2001) (dismissing claims); see Laramee v. Jewish Guild for

the Blind, 72 F. Supp. 2d 357, 359 (S.D.N.Y. 1999) (same).

       Here, the NYU portal prompted Ms. Romankow with a pop-up message requiring her to

accept the terms of the Release, which she did. See Ex. 38. The Release bars her claims.

V.     The Plaintiffs’ Breach of Contract Claim Fails.

       If the Court proceeds substantively to address the plaintiffs’ breach of contract claim, it

should dismiss it. The implied contract between NYU and Ms. Romankow was, at most, that NYU

would provide her the ability to earn academic credits in exchange for tuition. See Gally, 22

F. Supp. 2d at 206 (“When a student enrolls … an implied contract arises: if the student complies

with the terms … she will obtain the degree she seeks.”); accord Anthes v. New York Univ., 2018

WL 1737540, at *13 (S.D.N.Y. Mar. 12, 2018), aff’d sub nom. Anthes v. Nelson, 763 F. App’x 57,

60 (2d Cir. 2019) (affirming dismissal). The plaintiffs admit NYU upheld its end of the bargain:

it continued to provide Ms. Romankow with remote instruction and academic credits. AC ¶¶ 6,

18. As a result, NYU did not breach this contract. See Roe v. Loyola Univ. New Orleans, 2007

WL 4219174, at *2-3 (E.D. La. Nov. 26, 2007) (rejecting claim by student who, after Hurricane

Katrina, attended classes at another school, earned credits and graduated; there was no contract

“that would entitle him to a free semester of law school”).

       To the extent that the plaintiffs imply that the contract had other, material components that

they seek to jumble together from admissions, curriculum, and other materials, that attempt fails


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because: (1) descriptions of the program courses or curriculum do not create an enforceable

contract, particularly given NYU’s disclaimers; (2) Covid-19 and the related government edicts

closing schools rendered NYU’s performance impossible; (3) there are no allegations that NYU

acted in bad faith; and (4) damages are entirely speculative.

       A.      Descriptions of the London Program and Its Curriculum Do Not Create an
               Enforceable Contract.

       “The application of contract principles to the student-university relationship does not

provide judicial recourse for every disgruntled student” and “the mere allegation of mistreatment

without the identification of a specific breached promise or obligation does not state a claim.”

Gally, 22 F. Supp. 2d at 207. “[O]nly specific promises set forth in a school’s bulletins, circulars

and handbooks, which are material to the student’s relationship with the school, can establish the

existence of an implied contract … ” Keefe v. New York Law Sch., 71 A.D.3d 569, 570 (1st Dep’t

2010) (affirming dismissal).

       Courts repeatedly have acknowledged the need for universities to have flexibility to

exercise “discretion in dealing with uncertain contingencies.” Cuesnongle v. Ramos, 713 F.2d

881, 885 (1st Cir. 1983) (rejecting claim); Mahavongsanan v. Hall, 529 F.2d 448, 450 (5th Cir.

1976) (rejecting claim and recognizing “wide latitude and discretion” afforded educational

institutions). In Cuesnongle, for example, following a teacher strike, a student sued, alleging,

among other things, that his school breached a contract when it changed the starting date of classes,

closed several course sections, and reduced student services and facilities. 713 F.2d at 882. In

rejecting the initial decision that there was a breach of contract, the Court noted that, “Even to

think that a university could be found to have broken its contract when it changed the dates of

classes, or the curriculum, for reasons beyond its control … should startle anyone at all familiar

with university life.” Id. at 885. As one Court explained,



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       ‘even if [a university does] not specifically reserve[] the right to make changes,
       courts have recognized that universities must have the flexibility to make changes
       in furtherance of their educational responsibilities. Certainly, … between a student's
       matriculation and graduation, an educational institution, which is a living, changing
       thing, may not reasonably be expected to remain static; and, conversely, change
       may reasonably be expected. Hence, each statement in a publication of what now
       is true does not necessarily become a term in the contract …’

Cooper v. Peterson, 626 N.Y.S.2d 432, 434 (N.Y. Sup. Ct. 1995) (quoting Soderbloom v. Yale

Univ., 1992 WL 24448, at *4 (Conn. Super. Ct. 1992)); see also Cheves v. Trs. of Columbia Univ.,

89 A.D.3d 463, 464 (1st Dep’t 2011) (affirming dismissal where “nothing in [the Alumni Relations

brochure serving as the basis of the plaintiff’s claims] guarantee[d] unfettered, irrevocable access

for alumni to the campus”).

       Here, NYU reacted to a global health crisis and the U.S. and U.K. governments’ resulting

closures of schools and prohibition on public gatherings by modifying the delivery of course

instruction as necessary and “in furtherance of [its] educational responsibilities.” See Cooper, 626

N.Y.S. at 434. It is not reasonable to expect that every statement made about NYU’s intended

course offerings pre-pandemic necessarily became an immovable contract term, much less a

material term, on which students later could sue. Indeed, the plaintiffs admit that NYU “had

unilateral discretion to alter [Ms. Romankow’s] and Class Members[’] curriculum as long as it

generally adhered to the standards and promises that it made” (AC ¶ 114) and NYU “did not have

a choice in cancelling in-person classes.” AC ¶ 63. NYU’s website and course registration system

include a wide variety of information regarding anticipated course offerings and curriculum,

including course descriptions, instructors, dates, and classrooms. Under the plaintiffs’ theory, each

such item would constitute an enforceable contract term, and a student could demand her money

back if, for example, she completed the semester but a class was held in a different classroom than

originally intended, or an instructor changed or went on parental leave, or a class was canceled




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due to a storm. The law dictates otherwise. See Cooper, 626 N.Y.S. at 434.5

       This conclusion is reinforced by the fact that NYU expressly reserved the right to change,

relocate, and/or modify any fees or course offerings. Exs. 15, 16, 17. Universities can effectively

disclaim any specific promises made in bulletins, course catalogs, or other materials or

publications. See, e.g., Gally, 22 F. Supp. 2d at 206, n. 7 (“[University] could disclaim the

existence of a specific promise through the use of … a [bulletin] disclaimer”). Such disclaimers

bar breach of contract claims pertaining to those alleged promises. See Keles v. New York Univ.,

1994 WL 119525, at *6 (S.D.N.Y. Apr. 6, 1994) (disclaimer precluded claim; university could

change the requirements for matriculation); Prusack v. New York, 117 A.D.2d 729, 730 (2d Dep’t

1986).6 “[A] party cannot justifiably rely on a representation that is specifically disclaimed … ”

Dallas Aerospace, Inc. v. CIS Air Corp., 352 F.3d 775, 785 (2d Cir. 2002).

       Prusack is instructive. There, the plaintiffs were students who enrolled in the State

University of New York (“SUNY”) on the understanding that tuition would be $6,000. 117 A.D.2d

at 729. SUNY later increased tuition, and the plaintiffs sued for breach of contract. Id. The Court

found that “no breach of contract occurred” because “[t]he rights and obligations of the parties, as

contained in the university’s bulletins, became a part of the parties’ contract” and those documents

included “specific disclaimers … that the tuition charges were subject to change.” Id. at 730.


5
        A court recently dismissed a breach of contract claim for tuition refunds following Covid-
19 that alleged an implied obligation to provide in-person instruction in Chong v. Northeastern
University, 2020 WL 5847626, at *3 (D. Mass. Oct. 1, 2020). There, the Court held that the
plaintiffs “have not plausibly established that the parties’ agreement included a right to in-person
instruction.” Id. In so doing, the Court rejected the argument that “in-person instruction” “became
part of the parties’ contract when they registered for courses scheduled to ‘be taught within an
assigned room in specific buildings.’” Id.
6
        See also Mangla v. Brown Univ., 135 F.3d 80 (1st Cir. 1998) (affirming dismissal); Doherty
v. S. Coll. of Optometry, 862 F.2d 570, 579 (6th Cir. 1988) (reversing denial of motion for directed
verdict); Villareal v. Chamberlain Coll. of Nursing and Health Scis. Inc., 2019 WL 4736488, at
*2–4 (S.D. Tex. Sept. 27, 2019) (dismissing claim).


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       So too here. As an initial matter, any statements about NYU’s New York’s campus are

irrelevant as Ms. Romankow never chose to attend NYU in New York, but rather only in London.

See AC ¶¶ 13, 29, 30, 32–36. As to other statements on which the plaintiffs base their claims –

such as references to “the prestigious RADA facilities,” instruction and certification in “combat

training,” Shakespeare courses (AC ¶¶ 20, 77), and the number of hours of instruction anticipated

for courses (id. ¶ 20), as well as vague references to “NYU’s Course Catalog” and anticipated

course offerings (id. ¶¶ 20, 88–89) – any expectation that NYU was contractually obligated to

adhere, without any deviation or adjustment – even when providing those services would have

been illegal – fails as a matter of law. This is particularly so where NYU expressly retained the

right to change at its sole discretion any “course offerings,” including by modifying the content or

schedule of, eliminating, or canceling such courses. See Exs. 16, 17. Indeed, NYU retained the

contractual right to “change without notice at any time at [its] sole discretion,” among other things,

the “course offerings, schedules, activities … of the school and its departments and programs.”

See Ex. 16 (emphasis added). NYU expressly informed students, and students agreed, that changes

could include “the elimination of … classes, or activities; the relocation of or modification of the

content of any of the foregoing; and the cancellation of scheduled classes” (id. (emphasis added)),

that “[c]lass schedule and room locations [are] subject to change,” and “[c]lass meeting times may

vary.” Ex. 17. Thus, NYU did not promise that there would be no deviations from the expected

curriculum, nor did it promise in-person instruction or activities – particularly when such became

illegal and unsafe.

       As to fees, the AC is vague as to which fees Ms. Romankow paid, which were refunded,

and which allegedly should have been refunded but were not. See, e.g., AC ¶ 13. They allude to

the Registration and Services Fee (id. ¶ 85), which “furnish[es] resources to fund a portion of the




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budgets for a variety of services, operations, and activities that serve students and enhance

university life in support of our academic program” including “the Registrar, Student Health

Center, the Wellness Exchange / Counseling Service, the Wasserman Center, Information

Technology, and Student Life.” Ex. 42. After Covid-19, NYU continued to provide these and

other services remotely, including: career services through the Wasserman Center, academic

support, advising, IT, and more. See Ex. 32. The plaintiffs’ breach of contract claim must be

dismissed.

       B.      Covid-19 Rendered Performance Impossible.

       Even if the plaintiffs could make out a claim that there was an enforceable promise to

provide in-person classes at immovable specific places and times (which they cannot), Covid-19

and resulting government orders rendered NYU’s performance impossible. Impossibility excuses

performance where “destruction of … the means of performance makes performance objectively

impossible” as a result of “an unanticipated event that could not have been foreseen or guarded

against in the contract.” Kolodin v. Valenti, 115 A.D.3d 197, 200 (1st Dep’t 2014) (finding

impossibility); see also Organizacion JD LTDA v. U.S. Dep’t of Justice, 18 F.3d 91, 95 (2d Cir.

1994) (affirming dismissal); L. N. Jackson & Co. v. Royal Norwegian Gov’t, 177 F.2d 694, 697

(2d Cir. 1949) (performance “prohibited by … order”).

       In Organizacion JD LTDA, for instance, the plaintiffs sued two banks after the government

seized money transfers related to drug trafficking. 18 F.3d at 93. The plaintiffs asserted several

causes of action, including breach of contract. Id. at 95. The Second Circuit affirmed dismissal

of the breach of contract claims on impossibility grounds, holding that “the private intermediary

banks cannot be subject to a damage action because the intervening government actions in ordering

the seizures of the [transfers] rendered any enforceable contract impossible to perform.” Id.

       Here, similarly, Covid-19 and the resulting government orders, not any bad faith act by


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NYU, destroyed Ms. Romankow’s ability to: immerse herself in London’s “bustling and vibrant”

life; attend trips to the theater, galleries, and “and places of architectural interest”; access RADA;

complete combat training; go to a London library, sporting, and social events; and partake in other

travel. AC ¶ 76. Leaving aside that NYU does not control whether or not London events such as

musicals occur, Covid-19 and associated government orders limiting public gatherings, closing

museums and galleries, and canceling football matches and theater performances rendered

performance impossible. See Statement of Facts, § B. Accordingly, any alleged non-performance

by NYU is excused by impossibility.

       C.      There Are No Allegations NYU Acted in Bad Faith.

       Judicial intervention in cases against universities is limited to circumstances where the

school is alleged to have acted in bad faith, arbitrarily, or irrationally.7 See, e.g., Rodriguez v. New

York Univ., 2007 WL 117775, at *4 (S.D.N.Y. Jan. 16, 2007); Olsson v. Bd. of Higher Educ. of

City of N.Y., 49 N.Y.2d 408 (1980). As the U.S. Supreme Court has stated, “[w]hen judges are

asked to review the substance of a genuinely academic decision … they should show great respect

for the faculty’s professional judgment” and “may not override [an academic decision] unless it is

such a substantial departure from accepted academic norms as to demonstrate that the person or

committee responsible did not actually exercise professional judgment.” Regents of Univ. of

Michigan v. Ewing, 474 U.S. 214, 225 (1985). To the extent an implied contract exists between

students and a university, “[t]he essence of the implied contract is that an academic institution

must act in good faith in its dealings with its students.” Olsson, 49 N.Y.2d at 414. Thus, “[b]reach



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         To the extent the plaintiffs allege a breach of the implied covenant of good faith and fair
dealing (AC ¶¶ 113-116), the claim must be dismissed for the same reason. See Cordell v.
McGraw-Hill Cos., Inc., 525 Fed. App’x 22, 23 (2d Cir. 2013) (affirming dismissal of implied
duty of good faith and fair dealing claim where plaintiff failed to “plead[] any facts showing bad
faith”).


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of contract claims brought by students against universities are ‘subject to judicial review only to

determine whether the defendants abided by their own rules, and whether they have acted in good

faith or their action was arbitrary or irrational.’” Rodriguez, 2007 WL 117775, at *4 (dismissing

claims) (quoting Babiker v. Ross Univ. School of Med., 2000 WL 666342, at *6 (S.D.N.Y. May

19, 2000), aff’d 86 F. App’x 457 (2d Cir. 2004)). Accordingly, courts dismiss breach of contract

claims where the plaintiff has not alleged that the university acted in bad faith. See, e.g., Olsson,

49 N.Y.2d at 414 (dismissing claim where college “amply fulfilled its obligation to act in good

faith”).

           Here, the plaintiffs do not sufficiently plead that NYU acted in bad faith.8 As just

established, government edicts necessitated by Covid-19 made it illegal for NYU to provide in-

person instruction and for Ms. Romankow to enjoy London’s sporting and social events. NYU

did not simply refuse arbitrarily to provide in-person instruction.           Rather, the plaintiffs

acknowledge that NYU “did not have a choice in cancelling in-person classes.” AC ¶ 63. Against

this reality, the plaintiffs summarily pronounce that NYU “exercised its discretion to provide

appropriate refunds in bad faith” (AC ¶ 117), but they do not provide any factual support for that

entirely conclusory allegation, and the AC recognizes that “NYU has to continue paying rent for

their buildings and teachers who are still diligently teaching their students ... ” AC ¶ 62.

           Ms. Romankow never intended to study in New York – but in London – so her claims



8
        For reasons that are not entirely clear, the plaintiffs also mention online posts regarding
Change.org petitions. AC ¶¶ 62, 83. These petitions do not provide a basis for their claims. First,
the Court need not presume the rambling musings in the Change.org petitions are true, as none of
these “facts” “can be accurately and readily determined” and do not derive “from sources whose
accuracy cannot reasonably be questioned.” Fed R. Evid. 201(b)(2). The purported “students”
and “people” who signed the petitions are not named plaintiffs, and may not in fact even be NYU
students at all, as anyone has the ability to access and sign a Change.org petition. If the Court
considers them, it should also note there were other competing petitions, which urged NYU to
close its campus to ensure the safety of students and staff because of Covid-19. See Exs. 43–45.


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regarding resources and services in New York City (see AC ¶¶ 29, 30, 32–36) lack any basis as

applied to her. And, again, NYU did not act arbitrarily or in bad faith to prevent students’ access

to the NYU London RADA program, facilities, and social and sporting events in London (see AC

¶¶ 76, 77); the growing threat of Covid-19, international travel restrictions, and government edicts

prohibiting in-person events and large gatherings did. See supra, Statement of Facts, § B.

Accordingly, there is no colorable allegation that NYU acted in bad faith.

       D.      The Plaintiffs Failed Adequately to Allege Damages.

       A plaintiff must plead “cognizable damages” as a result of the defendant’s alleged breach.

See Doyle v. MasterCard Int’l Inc., 2016 WL 9649874, at *2-3 (S.D.N.Y. Dec. 15, 2016)

(dismissing claim); see also House of Europe Funding I, Ltd. v. Wells Fargo Bank, N.A., 2014

WL 1383703, at *10-11 (S.D.N.Y. Mar. 31, 2014) (same); Int'l Bus. Machs. Corp. v. Dale, 2011

WL 4012399, at *2 (S.D.N.Y. Sept. 9, 2011) (same). NYU provided educational credits in

exchange for the tuition paid (AC ¶ 92), so the plaintiffs have not pled that they suffered any

damages.

       An allegation that the fact that Covid-19 required a portion of the semester’s instruction to

be remote somehow devalued Ms. Romankow’s education is too speculative to support a claim.

To ascertain liability and damages, the Court would have to examine the method and effectiveness

of each course of instruction by each professor prior to Covid-19 and then, after, assess the value

of in-person instruction as compared to remote instruction as perceived by the particular student,

on a course-by-course basis, and calculate the percentage of tuition (if any) that should be refunded

on a course-by-course basis. See Mihalakis v. Cabrini Med. Ctr. 151 A.D.2d 345, 346 (1st Dep’t

1989) (the “difference between the value of the internship program provided by defendants and

the value of an internship program having the characteristics that defendants represented to

plaintiff” was too speculative to support a claim for fraud); Gomez-Jimenez v. N.Y. Law Sch., 36


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Misc. 3d 230, 248-252, 260 (Sup. Ct. N.Y. Cty. 2012) (dismissing claim; “plaintiffs [sic] theory

of damages … an award of the difference between what they paid for their law degree and an

amount representing its ostensibly lesser intrinsic worth … is entirely too speculative and remote

to be quantified as a remedy under the law”); WestLB AG v. BAC Fla. Bank, 912 F. Supp. 2d 86,

93 (S.D.N.Y. 2012) (“a general decline” in value “insufficient” to plead “damages”). Because the

plaintiffs fail to allege any non-speculative way to assess damages, the claim must be dismissed.

VI.    The Plaintiffs’ Unjust Enrichment Claim Must Be Dismissed.

       A.      The Unjust Enrichment Claim Is Duplicative of the Breach of Contract
               Claim.

       A claim for unjust enrichment must be dismissed where it is “merely duplicative.” Bautista

v. CytoSport, Inc., 223 F. Supp. 3d 182, 194 (S.D.N.Y. 2016). Unjust enrichment “is not a catchall

cause of action” and “is not available where it simply duplicates … a conventional contract …

claim.” Mahoney v. Endo Health Solutions, Inc., 2016 WL 3951185, at *11 (S.D.N.Y. Jul. 20,

2016) (citation and internal quotation marks omitted). Claims should be dismissed as duplicative

when they are “based on the same factual allegations underlying its contract and tort claims.”

Bytemark, Inc. v. Xerox Corp., 342 F. Supp. 3d 496, 512 (S.D.N.Y. 2018).

       Moreover, courts have held that students may not assert unjust enrichment claims against

universities where the relationship is governed by a contract. See, e.g., Yalincak v. New York Univ.,

2009 WL 10714654, at *14 (D. Conn. Sept. 3, 2009) (applying New York law). In Yalincak, the

plaintiff, a former NYU student, asserted multiple claims, including for breach of contract and

unjust enrichment. See Id. at *9-10, *14. The Court dismissed the unjust enrichment claim,

finding that “[a]s plaintiff acknowledges, he and NYU had an implied contract … governed by the

university’s bulletins and regulations. Because Plaintiff and NYU had a contract, he cannot bring

an action for unjust enrichment.” Id. (citation omitted); see also Jeffers v. Am. Univ. of Antigua,



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125 A.D.3d 440, 443 (1st Dep’t 2015) (rejecting students’ unjust enrichment claim); Gokool v.

Okla. City Univ., 716 F. App’x 815, 819 (10th Cir. 2017) (affirming dismissal of unjust enrichment

claim; “[T]here is nothing wrong about the University keeping [plaintiff’s] first-year tuition

because she received the instruction the school agreed to provide”); Chong, 2020 WL 5847626, at

*4 (dismissing unjust enrichment claim).

          The same result is compelled here. The plaintiffs’ unjust enrichment claim is duplicative:

           Unjust Enrichment Allegations                     Breach of Contract Allegations

    “Plaintiffs and the Class Members directly        “Plaintiffs and the members of the Class paid
    conferred non-gratuitous benefits upon            Defendant tuition, fees, and/or room and board
    Defendant, i.e., monetary payments for tuition,   charges for Defendant to provide in-person
    fees, and/or room and board, so that Plaintiffs   instruction, access to Defendant’s facilities,
    and the Class Members could avail themselves      and/or housing services.” (Id. ¶ 109).
    of in-person educational opportunities and
    utilize campus facilities.” (AC ¶ 122).

          Accordingly, the unjust enrichment claim must be dismissed.9

          B.     NYU Was Not Unjustly Enriched.

          To state a claim for unjust enrichment, “a plaintiff must plead that (1) the defendant was

enriched (2) at the plaintiff’s expense and (3) under the circumstances of such enrichment equity

and good conscience require the defendant to make restitution.” Goldemberg v. Johnson &

Johnson Consumer Cos., 8 F. Supp. 3d 467, 483 (S.D.N.Y. 2014). A mere allegation that a

defendant “received benefits … is insufficient … ” Samad v. Goldberg, 2016 WL 6678923, at *9




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       The fact that the unjust enrichment claim is pled in the alternative does not save it. “Unjust
enrichment may be plead in the alternative where the plaintiff challenges the validity of the
contract; it may not be plead in the alternative alongside a claim that the defendant breached an
enforceable contract.” King’s Choice Neckwear, Inc. v. Pitney Bowes, Inc., 2009 WL 5033960, at
*7 (S.D.N.Y. Dec. 23, 2009) (dismissing claim); see also Kamdem-Ouaffo v. Pepsico, Inc., 2015
WL 1011816, at *13 (S.D.N.Y. Mar. 9, 2015) (same); Weisblum v. Prophase Labs, Inc., 88 F.
Supp. 3d 283, 296 (S.D.N.Y. 2015) (same). Here, the plaintiffs do not challenge the validity of
the contract.


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(S.D.N.Y. Nov. 14. 2016) (quotation omitted). A plaintiff must establish that “it is against equity

and good conscience” for the defendant to retain the money, such as “some mistake or deception

practiced upon” the plaintiff by the defendant. Goel, 111 A.D.3d at 791, 792 (citations omitted)

(dismissing claim); see also Mueller v. Michael Janssen Gallery Pte. Ltd., 225 F. Supp. 3d 201,

209 (S.D.N.Y. 2016) (dismissing claim).

       Here, the plaintiffs voluntarily paid Ms. Romankow’s tuition and fees to NYU in exchange

for educational services and credits, and NYU provided them. And, the AC admits that “NYU

ha[d] to continue paying rent for their buildings and teachers who are still diligently teaching their

students. ” AC ¶ 62. The plaintiffs have not alleged any facts demonstrating that “equity and good

conscience” mandate the return of the tuition paid given an unprecedented pandemic followed by

state-wide shelter-in-place orders, which forced NYU to transition to remote instruction. To the

contrary, if NYU “were required to reimburse plaintiff for ... tuition payments [they] made,

plaintiff[s] would be unjustly enriched.” See Roe, 2007 WL 4219174, at *3 (rejecting claim)

(emphasis added); Yalincak, 2009 WL 10714654, at *14 (student “received the educational benefit

of his tuition payments when he took classes”).

       Where, as here, Ms. Romankow “receive[d] the benefits of the services defendants

provided,” the plaintiffs “do[] not have an equitable claim to return of the sums paid.” Metal

Cladding, Inc. v. Brassey, 159 A.D.2d 958 (4th Dep’t 1990); see also Universal Acupuncture Pain

Servs., P.C. v. State Farm Mut. Auto. Ins. Co., 196 F. Supp. 2d 378, 388 (S.D.N.Y. 2002) (rejecting

claim). And, NYU already refunded fees associated with certain services that would not be

provided in light of Covid-19. See Exs. 25, 30, 31. Accordingly, the unjust enrichment claim fails.

VII.   The Plaintiffs’ Conversion Claim Must Be Dismissed.

       A.      The Conversion Claim Is Duplicative of The Breach of Contract Claim.

       “[A]n action for conversion cannot lie where damages are merely sought for breach of


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contract.” Citadel Mgmt., Inc. v. Telesis Tr., Inc., 123 F. Supp. 2d 133, 148 (S.D.N.Y. 2000)

(dismissing claim); see also Jeffers, 125 A.D.3d at 443 (same); Armored Grp., LLC v. Homeland

Sec. Strategies, Inc., 2009 WL 1110783, at *3 (S.D.N.Y. Apr. 21, 2009) (same). “Where a

conversion claim is grounded in a contractual dispute, the plaintiff must show acts that were

unlawful or wrongful as opposed to mere violations of contractual rights.” OTG Brands, LLC v.

Walgreen Co., 2015 WL 1499559, at *9 (S.D.N.Y. Mar. 31, 2015) (quotation omitted).

       Here, the plaintiffs’ conversion claim is premised on the same allegations as their breach

of contract claim, not any unlawful or wrongful conduct by NYU. The plaintiffs paid tuition and,

in return, NYU provided educational services. See Armored Group, 2009 WL 1110783, at *3

(dismissing conversion claim). In any event, NYU’s conduct was not wrongful or unlawful as

NYU could not have continued in-person classes given the governmental orders to the contrary.

       B.      The Right to In-Person Classes Is Intangible Property Not Subject to a
               Conversion Claim.

       The conversion claim must be dismissed because “in-person educational services” (AC ¶

88) are not tangible property. The “conversion of intangible property is not actionable under New

York law.” Berman v. Sugo LLC, 580 F. Supp. 2d 191, 206–07 (S.D.N.Y. 2008) (dismissing

conversion claim). Tangible items that are the proper subject of conversion claim are some form

of actual property, not “indefinite, intangible, and incorporeal species of property.” Matzan v.

Eastman Kodak Co., 134 A.D.2d 863, 864 (4th Dep’t 1987) (dismissing conversion claim); see

also Zirvi v. Flatley, 433 F. Supp. 3d 448, 466 (S.D.N.Y. 2020) (same). Because in-person classes

are not “tangible” property, the plaintiffs’ conversion claim must be dismissed.

       C.      The Plaintiffs Had No Ownership Interest in and NYU Did Not Exercise
               Unauthorized Dominion Over In-Person Classes.

       “Conversion is the exercise of unauthorized dominion over the property of another in

interference with a plaintiff’s legal title or superior right of possession.” Citadel Mgmt., 123 F.


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Supp. 2d at 147 (quotation omitted). Thus, “a plaintiff must allege” that the “plaintiff had

ownership, possession or control over the property before its conversion.” Kirschner v. Bennett,

648 F. Supp. 2d 525, 540 (S.D.N.Y. 2009) (quotation omitted); see also Global View Ltd. Venture

Capital v. Great Cent. Basin Expl., L.L.C., 288 F. Supp. 2d 473, 479 (S.D.N.Y. 2003) (“[P]laintiff

must demonstrate that he has legal title or an immediate superior right of possession to the

identifiable fund.”) (quotation omitted); OTG Brands, 2015 WL 1499559, at *9-10 (dismissing

conversion claim; plaintiff did not identify “property in which they have title or right”).

       Here, the plaintiffs fail to allege facts demonstrating ownership or title over in-person

classes. Indeed, they point to no evidence indicating an entitlement to classes conducted solely

through in-person instruction. The opposite is true – the university, through its bulletins, reserved

all control and ownership over course offerings, including the right “to change [them] without

notice at any time at the sole discretion of the administration.” See Exs. 16, 17. The plaintiffs

agreed to the administration’s exclusive control and ownership by making payment of tuition or

attending classes. Id. Moreover, because NYU expressly retained the right to change its course

offerings, it did not exercise unauthorized dominion over the plaintiffs’ alleged property by

transitioning to remote instruction. Accordingly, the conversion claim must be dismissed.

                                         CONCLUSION

       The AC should be dismissed with prejudice. The plaintiffs should not be permitted leave

to amend further because they already amended, failed to correct the numerous deficiencies

identified, and amendment is futile. See Hauptman v. Interactive Brokers, LLC, 349 F. Supp. 3d

292 (S.D.N.Y. 2018) (Daniels, J.) (denying leave to amend).




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Dated: November 5, 2020                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
        I hereby certify that I am one of the attorneys for the defendant in this action and that on

November 5, 2020, I caused a copy of the foregoing to be filed with the Court’s ECF system,

which will cause notice of its filing to be served electronically upon all counsel who have appeared

in this action.

                                                      /s/ Keara M. Gordon
                                                     Keara M. Gordon




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